UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------x
UNITED STATES OF AMERICA,


               -against-                                                     22-cr-0673 (LAK)


SAMUEL BANKMAN-FRIED, et al.,

                              Defendants.
------------------------------------------x

                                            ORDER


LEWIS A. KAPLAN, District Judge.

               Any papers in response to Dkts 31 and 40 and any subsequent filings with respect

to redaction of the names of sureties on appearance bonds for defendant Bankman-Fried shall be

filed no later than January 19, 2023.

               SO ORDERED.

Dated:         January 11, 2023
